 Case: 4:16-cv-02163-CDP            Doc. #: 1     Filed: 12/30/16      Page: 1 of 8 PageID #: 1




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

MISSOURI PRIMATE FOUNDATION,                  )
CONNIE BRAUN CASEY, individually,             )
ANDREW SAWYER, individually,                  )
and JANE DOES 1 and 2,                        )
                                              )
         Plaintiffs,                          )
                                              )
vs.                                           )       No.   4:16-cv-2163
                                              )
PEOPLE FOR THE ETHICAL                        )
TREATMENT OF ANIMALS, INC. and                )       COMPLAINT FOR
ANGELA SCOTT a/k/a ANGELA                     )       DECLARATORY AND
G. CAGNASSO, individually,                    )       INJUNCTIVE RELIEF
                                              )
         Defendants.                          )

                                          COMPLAINT

         COME Now Plaintiffs, Missouri Primate Foundation, Connie Braun Casey, Andrew

Sawyer, and Jane Does 1 and 2 (“Plaintiffs”), by and through their attorneys, Goldberg Segalla,

LLP, and attorneys Kurtis B. Reeg and Lynn A. Lehnert, and respectfully state as follows.

                  JURISDICTION, VENUE, and GENERAL ALLEGATIONS

      1. Plaintiff Missouri Primate Foundation is a nonprofit Missouri corporation, not open to the

public, located at 12338 State Rd. CC, Festus, Missouri, 63028. Connie Braun Casey is the

President of Missouri Primate Foundation. Andrew Sawyer is a private individual residing in Las

Vegas, Nevada. Jane Does 1 and 2 have yet to be named (collectively, “Plaintiffs”).

      2. Defendant People for the Ethical Treatment of Animals, Inc. (PETA) is a militant,

activist, animal rights group using its cloak as a non-profit organization to threaten and bring

litigation under the Endangered Species Act as the basis for some of its fundraising activities and

makes claims for attorneys’ fees under the Equal Access to Justice Act (28 U.S.C. 2412) and



                                                  1
    Case: 4:16-cv-02163-CDP              Doc. #: 1         Filed: 12/30/16         Page: 2 of 8 PageID #: 2




other similar laws to fund its litigation war chest in furtherance of two of its goals, which are to

end private ownership of animals and to have human or non-property rights bestowed upon non-

wild, non-human primates, which under applicable law are considered to be private property.

Defendant Angela Scott a/k/a Angela G. Cagnasso, upon information and belief, was previously

a volunteer at the Missouri Primate Foundation, is and/or in this case acted as an informer,

snitch, agent, and/or representative of PETA, acted under false pretenses to gain access to the

facilities of the Missouri Primate Foundation to take videos, photographs and/or to obtain certain

information for PETA’s letter described more fully below in par. 5, and she is a private citizen

residing in Maryland (collectively, “defendants”).

     3. Defendants have threatened in writing to Plaintiffs and certain federal officers to file a

lawsuit against Plaintiffs herein under the Endangered Species Act, 16 U.S.C. § 1538 (a)(1)(B),

and its implementing regulation, 50 C.F.R. § 17.21(c)(1). Specifically, defendants allege that

Plaintiffs’ possession of approximately sixteen (16) chimpanzees by Missouri Primate

Foundation and Connie Braun Casey constitutes a "taking" in violation of the Endangered

Species Act, 16 U.S. C. § 1538(a)(1)(B)1 (“ESA”). See November 2, 2016 correspondence,

attached as Exhibit A.

     4. Chimpanzees are listed as endangered under the ESA, 50 C.F.R. §17.11(h), and non-wild

chimpanzees are animals included within the list of endangered wildlife under the ESA as of

September 14, 2015. 80 Fed.Reg. 34499 (June 16, 2015).



1
  (a) Generally.
         (1) Except as provided in sections 6(g)(2) and 10 of this Act [16 USCS §§ 1535(g)(2), 1539], with respect
to any endangered species of fish or wildlife listed pursuant to section 4 of this Act [16 USCS § 1533] it is unlawful
for any person subject to the jurisdiction of the United States to:…
                  (B) take any such species within the United States or the territorial sea of the United States;
16 U.S.C. § 1538(a)(1)(B).



                                                          2
 Case: 4:16-cv-02163-CDP            Doc. #: 1      Filed: 12/30/16     Page: 3 of 8 PageID #: 3




   5. This Court has subject matter jurisdiction of this matter pursuant to 28 U.S.C. §1331,

because a federal question is presented, i.e., whether or not the possession of the chimpanzees by

Plaintiffs constitutes a “take” in violation of the ESA.

   6. Pursuant to 28 U.S.C. § 2201(a) and 28 U.S.C. § 2202, and as more fully set forth herein,

an actual, ripe, justiciable controversy exists between Plaintiffs and Defendants so that the Court

is authorized to provide Plaintiffs the requested declaratory and injunctive relief.

   7. Pursuant to 16 U.S.C. § 1540(g)(5), the injunctive relief provided by citizen suits (such as

the one Defendants allege will be filed against the Plaintiffs) to enjoin persons who are alleged to

be in violation of any provision of the ESA, shall not restrict any right which any person, or class

of persons, may have under any statute or common law to seek enforcement of any standard or

limitation or to seek any other relief. As such, Plaintiffs have the authority and right to file this

action.

   8. Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(b)(2), because this is the

District in which a substantial part of the events giving rise to the question presented occurred.

                                  COUNT I - Declaratory Judgment

   9. The ESA makes it unlawful, with certain exceptions, for any person subject to the

jurisdiction of the United States to "take" any endangered species of fish or wildlife "within the

United States or the territorial sea of the United States."

   10. The ESA defines a "take" of an endangered species as to "harass, harm, pursue, hunt,

shoot, wound, kill, trap, capture, or collect, or to attempt to engage in any such conduct." 16

U.S.C. § 1532(19) (emphasis added).




                                                  3
 Case: 4:16-cv-02163-CDP            Doc. #: 1     Filed: 12/30/16      Page: 4 of 8 PageID #: 4




    11. The Defendants’ notice of their intent to file a lawsuit against Plaintiffs asserts that the

bases for their “take” claims against Plaintiffs are grounded on the “harass” and “harm” elements

of the statutory definition of the term “take.”

    12. The implementing regulations under the ESA, 50 C.F.R. Part 17, define "harass" as used

in the definition of "take" to mean "an intentional or negligent act or omission which creates the

likelihood of injury to wildlife by annoying it to such an extent as to significantly disrupt normal

behavioral patterns which include, but are not limited to, breeding, feeding, or sheltering." 50

C.F.R. § 17.3. The term "harm" means "an act which actually kills or injures wildlife. Such act

may include significant habitat modification or degradation where it actually kills or injures

wildlife by significantly impairing essential behavioral patterns, including breeding, feeding or

sheltering." Id.

    13. Defendants falsely assert in their notice of claim to Plaintiffs that Plaintiffs are violating

the ESA by an ongoing “take” of chimpanzees (named in Exhibit A as Chloe, Mikayla, Joey,

Tonka, Tammy, Connor, Candy, Allie, Kirby, Daisy, KK, Kimmy, Crystal, Kerry, Cooper, and

Coby, collectively “chimpanzees”) as follows:

            a. Missouri Primate Foundation, Connie Casey, and Andrew Sawyer keep Joey in

                   isolation;

            b. Plaintiffs deny the chimpanzees complex environments;

            c. Plaintiffs deny the chimpanzees a sanitary environment.

See Exhibit A.

    14. Plaintiffs deny Defendants’ allegations set forth in their November 2, 2016 letter, Exhibit

A attached hereto.




                                                  4
 Case: 4:16-cv-02163-CDP            Doc. #: 1      Filed: 12/30/16    Page: 5 of 8 PageID #: 5




    15. Plaintiff Missouri Primate Foundation, Connie Braun Casey, and Andrew Sawyer deny

Defendants’ claim that Joey is housed at the facilities of the Missouri Primate Foundation located

in Festus, Missouri.

    16. Plaintiffs deny Defendants’ claim that sixteen (16) chimpanzees are housed at the

facilities of the Missouri Primate Foundation located in Festus, Missouri.

    17. Plaintiffs deny Defendants’ claim that each and every one of the chimpanzees named in

Defendants’ November 2, 2016 letter, Exhibit A, as set forth in par. 13 above, are housed at the

facilities of the Missouri Primate Foundation located in Festus, Missouri.

        WHEREFORE, Plaintiffs respectfully pray that this Court enter its judgment and decree:

declaring that Plaintiffs’ housing, care and treatment of the chimpanzees housed at the Missouri

Primate Foundation facilities in Festus, Missouri, do not constitute a “take” thereof under the

Endangered Species Act and are, in fact, in compliance with the Endangered Species Act;

awarding Plaintiffs their reasonable attorney fees and litigation costs incurred in preparing for,

bringing and prosecuting this action, pursuant to Endangered Species Act, 16 U.S.C.

§1540(g)(4), Scales v. J.C. Bradford and Co., 925 F.2d 901. 909-10 (6th Cir. 1991), and

Shakopee Mdewakanton Sioux Community v. City of Prior Lake, 771 F.2d 1153, 1160 (8th Cir.

1985); and granting for such other and further relief that this Court deems just and proper.

                                        COUNT II – Injunction

        COMES NOW Plaintiffs, and for their cause of action for issuance of an Injunction, state

as follows:

    18. Each and every allegation set forth above in pars. 1-17 inclusive is incorporated herein in

Count II by reference, as if fully set forth herein.




                                                   5
 Case: 4:16-cv-02163-CDP           Doc. #: 1      Filed: 12/30/16     Page: 6 of 8 PageID #: 6




   19. Defendants have threatened to file suit against Plaintiffs unless Plaintiffs relinquish

chimpanzees to an unidentified, undisclosed facility of their own choosing.

   20. Pursuant to 16 U.S.C. § 1540(g)(5) and 28 U.S.C. §2202, this Court has the authority to

issue in favor of Plaintiffs and against Defendants “further necessary or proper relief based on a

declaratory judgment or decree,” including an injunction prohibiting Defendants from filing their

threatened lawsuit against Plaintiffs in which they intend to claim that Plaintiffs are violating the

ESA.

   21. If Defendants are not enjoined and barred from filing their threatened lawsuit against

Plaintiffs, as set forth herein, Defendants would be filing harassing, duplicative litigation and

over-burdening the Court in violation of the doctrine and tenets of judicial economy, while in

reality attempting to implement their true strategy as set forth in paragraph 2 above.

   22. This Court can adequately declare the rights and remedies of the Plaintiffs and

Defendants under the Endangered Species Act involving the private property at issue herein in

this pending declaratory judgment proceeding.

       WHEREFORE, based on the foregoing, Plaintiffs respectfully request that this court:

issue an injunction in favor of Plaintiffs and against Defendants, enjoining and barring

Defendants from filing any action against Plaintiffs based on or arising from any issues or

matters asserted, addressed, or raised in their letter of November 2, 2016, attached as Exhibit A

herein; waive the requirement of a bond or set a de minimus bond given that Defendants

themselves will not suffer any harm during the pendency of this litigation that they would not

have otherwise suffered if they had proceeded with their threatened ESA action; and grant such

other and further relief as this Court deems just and proper.




                                                 6
 Case: 4:16-cv-02163-CDP            Doc. #: 1      Filed: 12/30/16   Page: 7 of 8 PageID #: 7




                                     COUNT III – Defamation

        COMES NOW Plaintiffs, and for their pendent state law claim of Defamation, state as

follows:

    23. Each and every allegation set forth above in pars. 1-17 inclusive is incorporated herein in

Count II by reference, as if fully set forth herein.

    24. On multiple occasions, Defendant PETA has posted and made statements and issued at

least three (3) press releases/features (attached hereto as Exhibits B, C, and D which are

incorporated herein) on its website which:

        A.      are false and defamatory toward Plaintiffs;

        B.      have identified the Plaintiffs;

        C.      were published through the fault of Defendants by actual malice, with knowledge

the statements were false and/or a reckless disregard for whether the statements were true or

false, and Defendants had serious doubt the statements were true; and

        D.      have damaged Plaintiffs’ reputation.

    25. Defendant PETA’s false, misleading and defamatory statements were made with the

knowledge that there was a high probability said statements would injure Plaintiffs and/or were

issued with complete indifference to or conscious disregard of the Plaintiffs’ rights, so that

punitive damages are appropriate to be awarded in this case against Defendant PETA.

    26. Since the publication by Defendant PETA their false, misleading and defamatory

statements, Plaintiffs have been subject to ridicule, attorney’s fees and costs, and other damages

to be proven at trial.

        WHEREFORE, Plaintiffs respectfully request that this Court: find that Defendant PETA

has defamed Plaintiffs; award Plaintiffs compensatory and exemplary damages; award Plaintiffs



                                                   7
 Case: 4:16-cv-02163-CDP         Doc. #: 1     Filed: 12/30/16        Page: 8 of 8 PageID #: 8




their reasonable attorney fees and litigation costs incurred in preparing for, bringing and

prosecuting this action; and grant such other and further relief that this Court deems just and

proper.

Date: December 30, 2016


                                           Respectfully submitted,

                                           GOLDBERG SEGALLA LLP


                                    By:      /s/ Kurtis B. Reeg
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                                           Attorneys for Plaintiffs



                               CERTIFICATE OF SERVICE

       I hereby certify that on December 30, 2016, I electronically filed the foregoing United
States District Court – Eastern District of Missouri by using the CM/ECF system.

/s/ Kurtis B. Reeg




                                              8
